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Kathleen A. McCallister
Chapter 13 Trustee
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                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO


IN RE:                                                  CHAPTER 13

Jason S. Monroe,                                        CASE NO. 19-00561-JMM



  Notice of Motion to Modify the Confirmed Plan and Opportunity to Object and for a
                                       Hearing

No Objection. The Court may consider this request for an order without further notice or
hearing unless a party in interest files an objection within twenty-one [21] days of the date of
service of this notice.

If an objection is not filed within the time permitted, the Court may consider that there is no
opposition to the granting of the requested relief and may grant the relief without further
notice or hearing.

Objection. Any objection shall set out the legal and/or factual basis for the objection. A
copy of the objection shall be served on the movant.

Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to
schedule a hearing on the objection and file a separate notice of hearing.

              TRUSTEE’S MOTION TO MODIFY THE CONFIRMED PLAN


        NOW COMES Kathleen A. McCallister, the standing Chapter 13 Trustee for
United States Bankruptcy Court for the District of Idaho, and as for her Motion to Modify the
Confirmed Plan states as follows:
         1. The debtor(s) filed for Chapter 13 relief on May 20, 2019.    The debtor’s confirmed
plan does not pay unsecured creditors 100% of their allowed claims.
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         2. At the time the plan was confirmed the Debtor’s schedule I indicated that he made
gross income of $3228 from his employment with Power Plus with net income averaging $2726.
He also listed a second job that netted him $375 a month. His total income in 2019 was $45,803.
His net income was $3101 per month.
         3. Debtor listed monthly expenses of $1,865.
         4. Debtor’s 2021 tax return revealed gross income of $59,969 or an increase in excess of
$14,000 in calendar year 2021.
         5. Trustee requested and received current paystubs for the Debtor. His average net
income from Power Plus is $2,555.92 and his average net income from Smokey Mountain
Pizzeria is $2284.28 per month. Combined his average net income has increased from $3101 to
$4040.20 per month.
         6. The IRS allowances for a household of one for food, clothing and miscellaneous is
$785, for non-mortgage rent expenses is $505 and for transportation related expenses is $285.
Adding this to his mortgage payment of $713.67 and health care expenses of $52 results in
monthly expenses of $2,340.67.
         7. Plan payments should increase from $1236 to $1700 per month commencing in
August 2022 based on debtor’s increased income.
         8. Said modification is feasible since Debtors’ net income has increased by $939 per
month.
         WHEREFORE, trustee respectfully requests that the Debtors plan be modified to
increase his plan payments by $464 per month commencing in August 2022 for a total payment
of $1700 per month.
         DATED: July 22, 2022

                                                      /s/ Kathleen McCallister
                                                     Kathleen McCallister, Trustee
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                                CERTIFICATE OF SERVICE


        I, HEREBY CERTIFY that on July 22, 2022, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

Office of the U.S. Trustee
ustp.region18.bs.ecf@usdoj.gov

Jon R Wilson
Attorney at Law
jon@boiselaw.org


      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non CM/ECF Registered Participants in the manner indicated:

       Via first class mail, postage prepaid addressed as follows:


Jason S. Monroe
1125 E Locust Ln
Nampa, ID 83686

                                                     /s/ Kathleen McCallister
                                                    Kathleen McCallister, Trustee
